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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

NORIANA RADWAN                              : CIVIL ACTION NO. 3:16-CV-02091 (VAB)

PLAINTIFF,                                  :
                                            :
     v.                                     :

UNIVERSITY OF CONNECTICUT     : JUNE 18, 2018
BOARD OF TRUSTEES, WARDE
MANUEL, LEONARD TSANTIRIS,
AND MONA LUCAS, INDIVIDUALLY,

DEFENDANTS                                  :


                 JOINT PROPOSED MODIFIED SCHEDULING ORDER

       The parties respectfully submit this Joint Proposed Amended Scheduling Order, which

would amend the scheduling order entered by the Court on February 14, 2018 (Doc. No. 48):

   1. Plaintiff to join additional parties and amend pleadings - no longer applicable.

   2. Defendant to join additional parties and amend pleadings - longer applicable.

   3. Plaintiff to designate experts by April 13, 2018 - no longer applicable; already designated

       and report already produced.

   4. Defendants' to respond to Plaintiff's Request for Production of Documents dated May 7,

       2018 by July 20, 2018.

   5. Defendants to depose Plaintiff's experts by September 1, 2018.

   6. Damages Analysis to be filed by Plaintiff by May 18, 2018 - no longer applicable;

       already filed.

   7. Defendants to designate experts by September 10, 2018.

   8. Plaintiff to depose Defendants' experts by October 18, 2018.
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 9. Discovery to be completed (Deposition of Defendants and of fact witnesses and all other

    discovery to be completed) by November 1, 2018.

 10. Post-Discovery Status Conference to be set by Judge Victor A. Bolden for ________,

    2018 at ____;_____a.m.; once all parties are on the line, please call chambers at (203)

    579-5562.

 11. Dispositive motions due by December 15, 2018.

 12. Joint Trial Memorandum to be filed 30 days after the Court rules on dispositive motions.

 13. Trial ready date 30 days after the Joint Trial Memorandum is submitted.

                                                 DEFENDANTS

                                                 GEORGE JEPSEN
                                                 ATTORNEY GENERAL


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                                                 PLAINTIFF, NORIANA RADWAN

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                                                         -and-



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                                        CERTIFICATION


       I hereby certify that on June 19, 2018, a copy of the foregoing Proposed Modified

Scheduling Order was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the

court's electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the court's

CM/ECF System.




                                                       /s/ Rosemary M. McGovern
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